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  8
       Attorneys for LOUIS FLOYD
  9
       and the alleged Class
10
                                  UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
12
1.13    LOUIS FLOYD, individually and on behalf            Case No. 5:20-cv-01520-LHK
        of all others similarly situated,
 14                                                        NOTICE OF MOTION AND
2.                             Plaintiff,                  RENEWED MOTION FOR ORDER
 15                                                        REGARDING ALTERNATIVE SERVICE
3.      v.
                                                           ON DEFENDANTS
 16
4.      SARATOGA DIAGNOSTICS, INC., a
        California corporation, and THOMAS                 Date: November 5, 2020
 17
        PALLONE, an individual,                            Time: 1:30 p.m.
18                                                         Judge: Honorable Lucy H. Koh
                               Defendant.                  Courtroom: 8
19                                                         Complaint Filed: March 1, 2020

20
              PLEASE TAKE NOTICE that on November 5, 2020, at 1:30 p.m., or as soon thereafter
21
       as counsel may be heard, counsel for Plaintiff Louis Floyd (“Plaintiff” or “Floyd”) shall appear
22
       before the Honorable Judge Lucy H. Koh or any judge sitting in her stead in Courtroom 8 of the
23
       United States District Court for the Northern District of California, 280 S. 1st St., San Jose, CA
24
       95113, and present Plaintiff’s Renewed Motion for Order Regarding Alternative Service on
25
       Defendants (“Motion”).
26
              Plaintiff respectfully requests permission to service Defendant Saratoga Diagnostics, Inc.
27
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 1   in accordance with Cal. Corp. Code § 1702(a). Further, Plaintiff requests that the Court issue an
 2   Order finding that Defendant Thomas Pallone was sufficient served via U.S. Mail.
 3          This Motion is based on this Notice of Motion, the attached Memorandum of Points and
 4   Authorities and exhibits attached thereto, oral argument of counsel, and any other matter that may
 5   be submitted at the hearing.
 6
                                                  Respectfully submitted,
 7
 8   Dated: July 10, 2020                         LOUIS FLOYD, individually and on behalf of all
                                                  others similarly situated,
 9
                                                  By: /s/ Taylor T. Smith
10                                                        One of Plaintiff’s Attorneys
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19
                                                  Attorneys for Plaintiff and the Classes
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                                                  * Pro Hac Vice admission pending
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     Introduction
 3          Plaintiff Louis Floyd (“Plaintiff” or “Floyd”) renews his motion for alternative service on
 4   Defendant Saratoga Diagnostics (“Saratoga”), and requests that the Court issue an Order finding
 5   that Defendant Thomas Pallone (“Pallone”) (collectively “Defendants”) was sufficiently served
 6   by U.S. Mail. To date, Plaintiff has attempted to serve the Defendants on ten occasions—
 7   including nine in-person attempts and additional mailing attempts. Throughout the in-person
 8   attempts, Defendants have repeatedly refused to answer the door of their residence and principal
 9   place of business. Now, Saratoga has failed to return an acknowledgment of the service by mail,
10   and Pallone has refused to accept the mailing of the Complaint, Summons, and other initiating
11   documents via certified mail, which were ultimately returned to Plaintiff’s counsel. Defendants’
12   continued actions demonstrate a sustained effort to avoid service in the case entirely. The time has
13   come for the Court to put an end to the Defendants’ gamesmanship.
14          As such, and as explained further below, Plaintiff respectfully requests that the Court issue
15   an Order permitting service on Defendant Saratoga via the California Secretary of State and
16   declaring that Defendant Pallone was sufficiently served by U.S. Mail.
17   II.    Statement of Facts
18          On March 1, 2020, Plaintiff filed the instant action alleging widespread violations of the
19   Telephone Consumer Protection Act, as amended by the Junk Fax Prevention Act of 2005, 47
20   U.S.C. § 227, et seq. (“JFPA” or Act”). On March 2, 2020, this Court issued a summons to
21   directed to both Defendants. (See Dkt. 5.) According to its most recent California Secretary of
22   State business filing, Saratoga’s registered agent for service of process, Thomas Pallone, is
23   located at 12619 Paseo Olivos, Saratoga, California 950701. (See Saratoga Statement of
24   Information, which can be found at Dkt. 15-1.) The 12619 Paseo Olivos address is also the home
25   address of Pallone.
26          Plaintiff, via process server, initially attempted to serve the Complaint, Summons, and
27   other initiating documents on both Defendants on four (4) occasions. (See Declarations of Service
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 1   Attempts on Defendant Saratoga Diagnostics, Inc., which can be found at Dkt. 15-2; see also
 2   Declarations of Service Attempts on Thomas Pallone, which can be found at Dkt. 15-3.) Initially,
 3   Plaintiff attempted service on March 11, 2020, March 12, 2020, March 15, 2020, and March 17,
 4   2020. (See Dkt. 15-2; Dkt. 15-3.) On the March 17th attempt, the process server spoke with the
 5   co-occupant of the residence who stated that Pallone was not available. (Id.) The server served a
 6   copy of the Complaint, Summons, and other initiating documents on the co-occupant of the home,
 7   who refused to provide his name. (Id.) Thereafter, the server mailed a copy of the same
 8   documents to Pallone. (Id.)
 9          Thereafter, Plaintiff commenced five (5) additional attempts at service—April 24, 2020,
10   April 27, 2020, April 28, 2020, at 5:00 p.m., April 28, 2020, at 7:20 p.m., and April 29, 2020—at
11   the Defendants’ address. (See Dkt. 15-2; Dkt. 15-3.) On each occasion, Pallone was either not
12   home or refused to answer the door. (Id.) Together, Plaintiff has attempted service on nine (9)
13   occasions. (Id.) Based on his attempts at service, Plaintiff filed a Motion for Alternative Service
14   Upon Saratoga Diagnostics, Inc. and Thomas Pallone. (Dkt. 15.)
15          On June 5, 2020, the Court issued an Order granting in part and denying in part without
16   prejudice Plaintiff’s motion for alternative service. (Dkt. 20.) On June 8, 2020, Plaintiff mailed,
17   via first class mail, a copy of the Complaint and the exhibit attached thereto, Summons, and other
18   initiating documents to Saratoga. (Affidavit of Taylor T. Smith (“Smith Aff.”) ¶ 8, a true and
19   accurate copy of which is attached hereto as Exhibit A.) Included in the mailing were two copies
20   of the notice required by section Cal. Code Civ. Proc. 415.30(b) and a postage prepaid return
21   envelope. (Id.) To date—more than a month after the original date of mailing—Plaintiff has not
22   received any written acknowledgment from Saratoga. (Id. ¶ 9.) And Saratoga has not reached out
23   to Plaintiff’s counsel in any manner. (Id.)
24          Also, on June 8, 2020, Plaintiff mailed, via certified mail, a copy of the Complaint,
25   including the exhibit attached thereto, Summons, and other initiating documents to Defendant
26   Pallone. (Smith Aff. ¶ 10; see also Pallone Affidavit of Service, Dkt. 22.) On or around June 15,
27   2020, Pallone refused to accept the certified mailing. (Smith Aff. ¶ 11; Dkt. 22; see also Refused
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 1   Envelope, a true and accurate copy of which is attached hereto as Exhibit B.) Thereafter,
 2   Plaintiff’s counsel received the Refused Envelope from Pallone. (Smith Aff. ¶ 12; see also Ex. B.)
 3   On July 3, 2020, Plaintiff’s counsel then undertook to again mail a copy of the Complaint,
 4   including the exhibit attached thereto, Summons, and other initiating documents to Pallone.
 5   (Smith Aff. ¶ 13; Dkt. 22.) This time, the documents were mailed via first class U.S. Mail. (Id.)
 6           Based these facts and as explained further below, Plaintiff renews his motion for
 7   alternative service on Saratoga and requests that the Court issue any Order finding that Pallone
 8   was sufficiently served by mail.
 9   III.    Argument
10           A.     Plaintiff Requests Permission To Serve Defendant Saratoga Via The
11                  California Secretary Of State.
12           In its June 5th Order, the Court denied without prejudice Plaintiff’s initial request to issue
13   an Order permitting alternative service upon Defendant Saratoga by serving process on the
14   California Secretary of State in accordance with Cal. Corp. Code § 1702(a). (Dkt. 20.) While the
15   Court noted that Plaintiff had shown substantial service efforts, the Court denied the request
16   because Plaintiff had not established by affidavit that he exhausted all methods of service required
17   under Cal. Corp. Code § 1702(a). (See Dkt. 20 at 3-6.) Prior to permitting service on a Defendant
18   via the California Secretary of State, Plaintiff must demonstrate that Saratoga “cannot be served
19   with reasonable diligence” pursuant to California Code of Civil Procedure sections 415.10(a),
20   415.20(a), 415.30(a), 416.10(a), and 416.10(b).1 (Dkt. 20 at 4); see also Cal. Corp. Code §
21   1702(a).
22           The Court found that Plaintiff had shown by affidavit that Saratoga could not be served
23   pursuant to sections 415.10(a), 415.20(a), 416.10(a), and 416.10(b). (See Dkt. 20 at 4-6.)
24
25
     1
       While Cal. Corp. Code § 1702(a) also requires that Plaintiff demonstrate that service cannot be
26   complete pursuant to sections 416.10(c) and 416.20, the Court, in its prior Order, correctly found
     that the sections were not applicable because Saratoga is not a bank, and there are no allegations
27   that Saratoga has forfeited its charter or dissolved. (Dkt. 20 at 4.)
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 1   Plaintiff’s prior nine attempts to serve Saratoga’s registered agent and only officer continue to
 2   satisfy these sections. What remains was Plaintiff’s failure to satisfy section 415.30(a), which
 3   permits service by mail by sending a copy of the complaint and summons along with proper
 4   notices and a postage prepaid return envelope. Cal. Code Civ. Proc. 415.30, et seq. Service is
 5   deemed complete “on the date a written acknowledgment of receipt of summons is executed, if
 6   such acknowledgment thereafter is returned to the sender.” Cal. Code Civ. Proc. 415.30(c).
 7          On June 8, 2020, Plaintiff mailed, via first-class mail, a copy of the Complaint, including
 8   the exhibit attached thereto, Summons, and all initiating documents to Defendant Saratoga, along
 9   with two copies of the notice required by section 415.30(b) and a postage prepaid return envelope.
10   (Smith Aff. ¶ 8.) To date, more than 20 days have passed since the mailing of the documents, and
11   Plaintiff has not received any written acknowledgement from Saratoga. (Smith Aff. ¶ 9.)
12   Consequently, Plaintiff has now demonstrated by affidavit that service on Saratoga cannot be
13   accomplished with reasonable diligence pursuant to section 415.30.
14          Because Plaintiff has demonstrated by affidavit that service cannot be completed pursuant
15   to sections 415.10(a), 415.20(a), 415.30(a), 416.10(a), and 416.10(b) of the California Code of
16   Civil Procedure, Plaintiff now respectfully requests permission to serve Saratoga via the
17   California Secretary of State pursuant to Cal. Corp. Code § 1702(a).
18          B.      Plaintiff Requests that the Court Find that service on Pallone is Sufficient.
19          In its June 5th Order, the Court also permitted Plaintiff to serve Defendant Pallone by
20   certified mail. (Dkt. 20 at 6-7.) On July 8, 2020, Plaintiff served the Complaint, including the
21   exhibit attached thereto, Summons, and other initiating documents on Pallone by mailing each via
22   certified mail. (Smith Aff. ¶ 10; Dkt. 22.) On June 15, 2020, Pallone refused to accept the
23   envelope, which was then returned to Plaintiff’s counsel. (Smith Aff. ¶ 11; see also Refused
24   Envelope, Ex. B.) Pallone’s refusal to accept the service does not render the service insufficient.
25   Rather, this Court should find that service was complete upon mailing. Moreover, Pallone’s
26   intentional refusal to accept the certified mailing further demonstrates that has actual knowledge
27   of this action. For good measure, on July 3, 2020, Plaintiff mailed, via first class U.S. Mail, a
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 1   copy of the Complaint, Exhibit A to the Complaint, Summons, and other initiating documents to
 2   Pallone. (Smith Aff. ¶ 13; Dkt. 22.) Together, the Court should find that Plaintiff’s actions were
 3   “reasonable calculated to give actual notice to the party to be served.” Cal. Code Civ. Proc.
 4   413.30. Therefore, Plaintiff respectfully requests that the Court issue an Order finding that
 5   Plaintiff effectuated service on Pallone via U.S. Mail on June 8, 2020.
 6   IV.      Conclusion
 7            For the foregoing reasons, Plaintiff respectfully requests that the Court grant the present
 8   motion and issue an Order permitting Plaintiff to effectuate service on Defendant Saratoga by
 9   means of service upon the California Secretary of State, issue an Order finding that Plaintiff
10   effectuated service over Pallone, and for such additional relief as the Court deems necessary and
11   just.
12
                                                    Respectfully submitted,
13
14   Dated: July 10, 2020                           LOUIS FLOYD, individually and on behalf of all
                                                    others similarly situated,
15
                                                    By: /s/ Taylor T. Smith
16                                                          One of Plaintiff’s Attorneys
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 1                                    CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that on July 10, 2020, I served a true and accurate copy
 3   of the foregoing documents by first-class U.S. Mail, postage prepaid, and properly addressed to
 4   the following parties:
                                        Saratoga Diagnostics, Inc.
 5
                                           12619 Paseo Olivos
 6                                         Saratoga, CA 95070

 7                                           Thomas Pallone
                                           12619 Paseo Olivos
 8                                         Saratoga, CA 95070
 9
10                                                       /s/ Taylor T. Smith
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28   NOTICE OF MOTION AND RENEWED
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